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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

HOWARD JEROME HINTON                                  :

        Plaintiff                                     :

        v.                                            :            Civil Action No. AMD-05-1809

MARYLAND DEPARTMENT OF                                :
CORRECTION
                                                      :
        Defendant                                  ..o0o..

                                            MEMORANDUM

        In this civil rights action, filed on July 1, 2005, plaintiff alleged that he was illegally

incarcerated in the Maryland Department of Correction.1 Defendant has filed a motion to dismiss

or for summary judgment in response to the complaint. Paper No. 16. Plaintiff has filed a response

in opposition to the motion. Paper No. 22. Also pending is plaintiff’s motion for appointment of

counsel. Paper No. 23. Upon review of the papers filed, this court finds a hearing in this matter

unnecessary. Local Rule 105.6 (D. Md. 2004). For the reasons set forth below, defendant’s motion

shall be granted.

                                                Background

        Plaintiff asserts he was imprisoned for 29 years after being wrongfully convicted on nine

separate occasions. Paper No. 1. In his amended complaint, plaintiff asserts that three of his

convictions were overturned on appeal. Paper No. 7. He claims that he was held illegally and, as

a result, suffered several assaults by inmates as well as correctional officers resulting in the loss of

eyesight in one eye. Id. He seeks monetary damages as relief.


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          The complaint contains numerous allegations, most of which are time-barred. By order dated
July 26, 2005, this court limited the complaint to the claim that plaintiff was illegally incarcerated. Paper
No. 9.
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       According to verified records submitted by defendant, as well as the affidavit of the Division

of Correction’s Director of Commitment Jodie Stouffer, plaintiff was incarcerated from November

26, 1975, until June 29, 2004. Paper No. 16 at Ex. A; Paper No. 24. Plaintiff was sentenced by the

Baltimore City Circuit Court to serve six years for attempted robbery with a deadly weapon and

receiving stolen goods on November 25, 1975; the sentence commenced on July 3, 1975. Paper No.

24 at p. 1. He was again sentenced to serve two years “consecutive to sentence now serving” on

January 6, 1976, for violation of probation. Id. at p. 2. The sentence plaintiff was serving at the time

was the six years commencing on July 3, 1975, making his maximum expiration date July 3, 1983.

       On May 29, 1979, plaintiff escaped from custody and was returned to custody 190 days later,

on December 5, 1979. Paper No. 16 at Ex. A, p. 2. Because time spent out of custody on escape

does not count as time spent incarcerated, plaintiff’s maximum expiration date was adjusted to

account for the 190 days he spent out of custody on escape by adding 190 days to July 3, 1983.

Thus, the adjusted maximum expiration date after his return to custody was January 9, 1984. Id.

       Plaintiff escaped again on April 27, 1980, and was returned to custody on the following day.

Accordingly, his maximum expiration date was again adjusted to account for the day he was out of

custody to January 10, 1984. Id. On September 17, 1980, plaintiff was sentenced to serve 20 years

“consecutively to sentence now being served” after being convicted of robbery with a dangerous and

deadly weapon, robbery, assault with intent to rob, assault, and theft in the Baltimore County Circuit

Court. Paper No. 24 at p. 3. At the time the 20 year sentence was imposed, plaintiff was serving the

six year sentence imposed on November 25, 1975. Paper No. 16 at Ex. A, p. 3. The 20 year sentence

was consecutive to the six year sentence, but concurrent with the two year sentence imposed on

January 6, 1976. The 191 days plaintiff spent out of custody on escape is accounted for in


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determining the maximum expiration date of plaintiff’s term of incarceration after imposition of the

twenty year sentence; thus the maximum expiration date became January 4, 2002.

           On September 2, 1983, plaintiff again escaped from custody and was returned to custody the

following day. Paper No. 16 at Ex. A, p. 3. The day plaintiff spent at large was again added to the

maximum expiration date of his term of incarceration, making it January 5, 2002. Id. On December

28, 1983, plaintiff was convicted of assault with intent to murder, attempted escape, and escape, for

which he was sentenced to seven years of incarceration. Paper No. 24 at p. 4. The seven year

sentence was, again, directed to be served “consecutive to sentence now serving.” Id. At the time

the sentence was imposed, plaintiff was serving the 20 year term imposed on September 17, 1980.

Paper No. 16 at Ex. A, p. 3. Accordingly, plaintiff’s maximum expiration date was adjusted to

January 5, 2009. Id.

           On September 26, 1989, plaintiff was convicted of attempted escape in the Circuit Court for

Baltimore City. Paper No. 24 at p. 5. As a result he was sentenced to serve eight years consecutive

to the 20 year term imposed on September 17, 1980. Id. At this point, plaintiff’s maximum

expiration date became January 5, 2010. Paper No. 16 at Ex. A, p. 4. Upon application of plaintiff’s

earned diminution of confinement credits (2,016 days total), he became eligible for release on

mandatory supervision on June 29, 2004, and he was in fact released on that day. Id.; Paper No. 24

at p. 6.

           Plaintiff’s opposition to the motion for summary judgment asserts that the affidavit submitted

is perjurious inasmuch as it omits plaintiff’s convictions from Anne Arundel County and Baltimore

County Circuit Courts which were reversed by the Court of Special Appeals. Paper No. 22. He does

not appear to dispute that the other convictions and resulting terms of incarceration actually


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occurred, but asserts they were the result of ineffective assistance of counsel. Id. at p. 3. He also

accuses this court of being involved in a conspiracy to deny him the opportunity to be heard on his

claims.2 Id. at p. 2. In addition, he claims he has been the subject of a criminal justice experiment

involving both the federal and state government and the use of an “MRI-like technology.” Id.

                                           Standard of Review

        A motion for summary judgment will be granted only if there exists no genuine issue as to

any material fact and the moving party is entitled to judgment as a matter of law. See Fed. R. Civ.

P. 56(c); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986); Celotex Corp. v. Catrett, 477

U.S. 317, 322 (1986). In other words, if there clearly exist factual issues “that properly can be

resolved only by a finder of fact because they may reasonably be resolved in favor of either party,”

then summary judgment is inappropriate. Anderson, 477 U.S. at 250; see also Pulliam Inv. Co. v.

Cameo Properties, 810 F.2d 1282, 1286 (4th Cir. 1987); Morrison v. Nissan Motor Co., 601 F.2d

139, 141 (4th Cir. 1979); Stevens v. Howard D. Johnson Co., 181 F.2d 390, 394 (4th Cir. 1950). The

moving party bears the burden of showing that there is no genuine issue of material fact. Fed. R.

Civ. P. 56(c); Pulliam, 810 F.2d at 1286 (citing Charbonnages de France v. Smith, 597 F.2d 406,

414 (4th Cir. 1979)).

        When ruling on a motion for summary judgment, the court must draw all reasonable

inferences in favor of and construe the facts in the light most favorable to the non-moving party.

Tinsley v. First Union Nat’l Bank, 155 F.3d 435, 437 (4th Cir. 1998). A party who bears the burden

of proof on a particular claim must factually support each element of his or her claim. “[A]



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         Plaintiff has also included threats to court personnel in the pleadings filed in this case. Papers
No. 20, 22 and 23.

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complete failure of proof concerning an essential element . . . necessarily renders all other facts

immaterial." Celotex, 477 U.S. at 323. Thus, on those issues on which the nonmoving party will

have the burden of proof, it is his or her responsibility to confront the motion for summary judgment

with an affidavit or other similar evidence. See Anderson, 477 U.S. at 256.

                                              Analysis

       To the extent that plaintiff is seeking monetary damages for wrongful convictions, his claim

is barred because the convictions upon which his incarceration were based have not been overturned

on appeal or otherwise vacated. Claims challenging the legality of a conviction are not cognizable

in a 42 U.S.C. § 1983 action unless and until the conviction is reversed, expunged, invalidated, or

impugned and complaints containing such claims must therefore be dismissed without prejudice. See

Heck v. Humphrey, 512 U. S. 477, 487 (1994). Assuming two of plaintiff’s convictions were

overturned, there is no evidence that after they were overturned he remained incarcerated on those

convictions. To the contrary, there is ample evidence, that plaintiff has failed to refute, that he was

incarcerated from November 25, 1975, to June 29, 2004 (with the exception of the time he spent out

of custody on escape) for service of validly imposed terms of incarceration that were not overturned

on appeal. Paper No. 16 at Ex. A; Paper No. 24. There is no evidence that plaintiff was incarcerated

even one day beyond the time which he was obliged to serve. Accordingly, the complaint must be

dismissed. A separate order follows.



Filed: November 14, 2005                               ___/s/_______________________________
                                                       Andre M. Davis
                                                       United States District Judge




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